        Case 3:09-cr-00113-SHL-SBJ Document 170 Filed 04/21/10 Page 1 of 1
                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF IOWA

UNITED STATES OF AMERICA,                     )
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                                             )                                     APR 21 2010
                          Plaintiff,         )
                                             )
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                                                                            SOU I He/wIUI\) TRier OF IOWA
                 vs.                         )       Case No. 3:09-cr-OOI13
                                             )
KIRK M. PHILLIPS,                            )
                                             )
                          Defendant.         )


     REPORT AND RECOMMENDATION CONCERNING PLEA OF GUILTY


        The United States of America and the Defendant, having both filed a written consent,

appeared before me pursuant to Rule 11, Fed. R. Crim. P. and L. Cr. R. 11. The Defendant entered

a plea of guilty to Count _O=ne~(l'-oL)      of the Superseding Indictment. After cautioning and

examining the Defendant under oath concerning each of the subjects mentioned in Rule 11, I

determined that the guilty plea was knowing and voluntary as to each count, and that the offense

charged is supported by an independent factual basis concerning each of the essential elements of

such offense. I, therefore, recommend that the plea of guilty be accepted, that a pre-sentence

investigation and report be prepared, and that the Defendant be adjudged guilty and have sentence

imposed accordingly.




~nJ. 1\, '11>\0
Date·



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                                            NOTICE

Failure to file written objections to this Report and Recommendation within fourteen (14) days from
the date of its service shall bar an aggrieved party from attacking such Report and Recommendation
before the assigned United States District Judge. 28 U.S.C. 636(b)(1)(B).
